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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the Oil Rig                      *      MDL NO. 2179
       “DEEPWATER HORIZON: in the                    *
       GULF OF MEXICO, on April 20, 2010             *
                                                     *      SECTION: “J”
                                                     *
                                                     *
                                                     *      JUDGE BARBIER
                                                     *      MAG. JUDGE SHUSHAN
THIS DOCUMENT RELATES TO:                            *
      Civil Action No. 10-1245                       *
      Darleen Jacobs Levy vs. BP, PLC, et al         *

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                                     ORDER FOR LEAVE

       Considering the above and foregoing and that there is no objection to the filing of this

Eleventh Supplemental and Amending Complaint.

       IT IS ORDERED that plaintiff, Darleen Jacobs Levy, be allowed to file this Eleventh

Supplemental and Amending Complaint as prayed for herein.

       New Orleans, Louisiana this ______ day of _________________________, 2011.



                                                            ______________________________
                                                            DISTRICT JUDGE
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